                 Case 23-10831-MFW               Doc 975        Filed 02/14/24        Page 1 of 5



                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


    In re:                                               Chapter 11

    LORDSTOWN MOTORS CORP., et al.,1                     Case No. 23-10831 (MFW)
                                                         (Jointly Administered)
             Debtors.
                                                         Related to Docket Nos. 733, 869, and 937

                                                         Objection Deadline: March 5, 2024 at 4:00 p.m. (ET)
                                                         Hearing Date: March 14, 2024 at 3:00 p.m. (ET)
                 SECOND INTERIM APPLICATION OF TROUTMAN PEPPER
                HAMILTON SANDERS LLP AS COUNSEL FOR THE OFFICIAL
             COMMITTEE OF UNSECURED CREDITORS FOR THE PERIOD FROM
              OCTOBER 1, 2023 THROUGH AND INCLUDING DECEMBER 31, 2023

Name of Applicant:                                    Troutman Pepper Hamilton Sanders LLP

Authorized to provide professional
services to:                                          Official Committee of Unsecured Creditors

Petition Date:                                        June 27, 2023

Date of Retention:                                    August 23, 2023 effective as of July 17, 2023

Period for which compensation and
reimbursement are sought:                             October 1, 2023 through December 31, 2023

Amount of compensation sought as
actual, reasonable, and necessary:                    $434,928.002

Amount of expense reimbursement sought
as actual, reasonable, and necessary:                 $1,472.79

This is a(n):           monthly         X interim            final application
Troutman Pepper Hamilton Sanders LLP intends to seek compensation in connection with the
preparation of this Application at a later date.




1
      The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
      Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
      address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
2
      This amount reflects the aggregate fees incurred by Troutman Pepper during the application period. Troutman
      Pepper seeks payment of only a portion of this amount as described herein at this time. Troutman Pepper reserves
      the right to seek the payment of the difference in fees at the non-discounted rate pursuant to the terms of its
      retention.
                 Case 23-10831-MFW            Doc 975       Filed 02/14/24       Page 2 of 5




 Summary of monthly fee applications for interim fee period (which are incorporated herein by
 reference):

 DATE
                               REQUESTED                    APPROVED TO DATE*
 FILED        PERIOD                                                                           HOLDBACK**
DOCKET       COVERED
                            FEES        EXPENSES              FEES            EXPENSES
  NO.
 11/22/23    10/1/23 –                                   $153,060.00                           $38,265.00
                         $212,608.001   $1,010.33                             $1,010.33
[D.I. 733]   10/31/23                                (80% of $191,325.00)                  (20% of $191,325.00)
 12/26/23    11/1/23 –                                   $83,680.80                            $20,920.20
                         $104,601.00     $254.66                               $254.66
[D.I. 869]   11/30/23                                (80% of $104,601.00)                  (20% of $104,601.00)
 1/30/24     12/1/23 –                                   $90,420.00                            $22,605.00
                         $117,719.002    $207.80                               $207.80
[D.I. 937]   12/31/23                                (80% of $113,025.00)                  (20% of $113,025.00)

        Totals           $434,928.00    $1,472.79          $327,240.80        $1,472.79          $81,810.20


 1
  Reduced to $191,325, based on Troutman Pepper’s agreement to charge, on a monthly basis, the lesser of
 (a) the blended rate of $750/hour for all timekeepers or (b) its professionals’ standard hourly billing rates,
 subject to payment of the difference, if any, pursuant to terms of its Retention Order.
 2
  Reduced to $113,025, based on Troutman Pepper’s agreement to charge, on a monthly basis, the lesser of
 (a) the blended rate of $750/hour for all timekeepers or (b) its professionals’ standard hourly billing rates,
 subject to payment of the difference, if any, pursuant to terms of its Retention Order.

 * Provided no responses are filed with respect to the sixth application, Applicant anticipates filing a
 Certificate of No Objection after 4:00 p.m. (ET) on February 21, 2024.

 ** Troutman Pepper reserves its right to seek payment of its fees at the non-discounted rate pursuant to the
 terms of its retention.




                                                       2
              Case 23-10831-MFW          Doc 975     Filed 02/14/24     Page 3 of 5



               PLEASE TAKE NOTICE that pursuant to the Order Establishing Procedures for

Interim Compensation and Reimbursement of Expenses for Chapter 11 Professionals and

Committee Members [Docket No. 181] (the “Compensation Procedures Order”), Troutman Pepper

Hamilton Sanders LLP (“Troutman Pepper” or “Applicant”), as counsel to the Official Committee

of Unsecured Creditors, hereby files this second interim fee application (the “Application”) with

the United States Bankruptcy Court for the District of Delaware, 824 N. Market Street, 3rd Floor,

Wilmington, Delaware 19801 (the “Bankruptcy Court”).

               PLEASE TAKE FURTHER NOTICE that in accordance with the Compensation

Procedures Order, any objection or other response to the Application must be (i) filed with the

Bankruptcy Court on or before March 5, 2024 at 4:00 p.m. (Eastern Time) (the “Objection

Deadline”); and (ii) served so as to be actually received no later than the Objection Deadline by

(a) the Applicant and (b) the Notice Parties (as that term is defined in the Compensation Procedures

Order).

               PLEASE TAKE FURTHER NOTICE that a hearing to consider the Application

has been scheduled on March 14, 2024 at 3:00 p.m. (Eastern Time) before the Honorable Mary

F. Walrath, United States Bankruptcy Judge, at the United States Bankruptcy Court for the District

of Delaware, 824 Market Street, 5th Floor, Courtroom 4, Wilmington, Delaware 19801.

               PLEASE TAKE FURTHER NOTICE that (i) Exhibit A attached hereto is a

summary of compensation for each professional of the Applicant that worked on the above-

captioned Chapter 11 cases during the interim fee period; (ii) Exhibit B attached hereto is a

summary of compensation by project category for the interim fee period; (iii) Exhibit C attached

hereto is an expense summary for the interim fee period; (iv) Exhibit D attached hereto is the

applicant’s customary and comparable compensation disclosures; (v) Exhibit E attached hereto is

the staffing plan for the period from October 1, 2023 through and including December 31, 2023;

                                                 3
              Case 23-10831-MFW          Doc 975     Filed 02/14/24       Page 4 of 5



(vi) Exhibit F attached hereto is certain additional disclosures; (vii) Exhibit G attached hereto is

the attorney certification in support of the Interim Fee Application; and (viii) Exhibit H attached

hereto is the proposed order approving the Application.

               PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND

TO THE APPLICATION IN ACCORDANCE WITH THIS NOTICE, THE COURT MAY

GRANT THE RELIEF REQUESTED IN THE APPLICATION WITHOUT FURTHER

NOTICE OR OPPORTUNITY FOR A HEARING.




                           [Remainder of page intentionally left blank]




                                                 4
            Case 23-10831-MFW   Doc 975     Filed 02/14/24    Page 5 of 5




Dated: February 14, 2024        Respectfully submitted,
Wilmington, Delaware
                                TROUTMAN PEPPER HAMILTON SANDERS LLP

                                /s/ Tori L. Remington
                                David M. Fournier (DE 2812)
                                Tori L. Remington (DE No. 6901)
                                Hercules Plaza, Suite 5100
                                1313 N. Market Street, Suite 5100
                                Wilmington, DE 19801
                                Telephone: (302) 777-6500
                                Email: david.fournier@troutman.com
                                        tori.remington@troutman.com
                                -and-
                                Francis J. Lawall (admitted pro hac vice)
                                3000 Two Logan Square
                                18th & Arch Streets
                                Philadelphia, PA 19103-2799
                                Telephone: (215) 981-4451
                                Fax: (215) 981-4750
                                Email: francis.lawall@troutman.com
                                -and-
                                Deborah Kovsky-Apap (admitted pro hac vice)
                                875 Third Avenue
                                New York, NY 10022
                                Telephone: (212) 808-2726
                                Fax: (212) 704-6288
                                Email: deborah.kovsky@troutman.com
                                -and-
                                Sean P. McNally (admitted pro hac vice)
                                4000 Town Center, Suite 1800
                                Southfield, MI 48075
                                Telephone: (248) 359-7317
                                Fax: (248) 359-7700
                                Email: sean.mcnally@troutman.com

                                Counsel to the Official Committee of Unsecured
                                Creditors




                                        5
